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                         UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF WEST VIRGINIA


 JONATHAN R., et al.,                          )
                                               )
 Plaintiffs,                                   )
                     v.                        )
                                               )
 JIM JUSTICE, in his official capacity as      )    Case No. 3:19-cv-00710
 Governor of West Virginia, et al.,            )
                                               )
 Defendants.                                   )




               DEFENDANTS’ REPLY TO PLAINTIFFS’ OPPOSITION TO
                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                          INTRODUCTION

            To survive a motion for summary judgment, Plaintiffs were required to “set forth specific

facts showing that there is a genuine issue for trial” with “significant probative evidence tending

to support” each element of their claims. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248–249

(1986) (cleaned up). They have not done so, and Defendants’ motion should be granted.

            As this Court repeatedly explained in its decision on class certification, to establish a

Substantive Due Process violation, Plaintiffs must prove that: (1) Defendants are “deliberately

indifferent” to one of the three practices identified as common to the class: caseworker caseloads,

case planning, or placement array; (2) the General Class has suffered “an injury rising to an

unconstitutional level” on a class-wide basis; and (3) Defendants’ practices relating to caseworker

caseloads, case planning, or placement array “caus[ed]” that “constitutional injury.” ECF No. 351,

at 17, 20, 24; see also Cnty. of Sacramento v. Lewis, 523 U.S. 833, 846–50 (1998); Rios v. City of

Del Rio, Tex., 444 F.3d 417, 422–24, 426–27 (5th Cir. 2006). Plaintiffs’ Memorandum in

Opposition to Defendants’ Motion (“Plaintiffs’ Opposition”) makes clear that there are not any

disputes of fact material to any of these elements that would necessitate fact-finding by this Court

at trial.

            Instead, Plaintiffs’ Opposition simply doubles down on their arguments from their motion

for class certification that the evidence shows that caseloads are too high, case planning is often

deficient, and there are not sufficient community placements. But, even if true, that does not show

that Defendants are “deliberately indifferent” to those issues, and it is not probative of whether the

General Class suffered a class-wide constitutional injury caused by the practices Plaintiffs

challenge. Despite obtaining millions of pages of documents and reams of data over five years of

litigation, deposing dozens of Defendants’ employees, and decades of experience litigating

Substantive Due Process cases against dozens of child welfare agencies, class counsel failed to
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point to any evidence establishing class-wide injury “rising to an unconstitutional level,” much

less any evidence that the practices they challenge caused such an injury.

       Moreover, Plaintiffs’ Opposition does not dispute any of the facts in Defendants’ Statement

of Undisputed Material Facts (“Defendants’ SUF,” ECF No. 534) about the countless actions

Defendants have undertaken to improve caseloads, case planning, and the placement array. As a

result, the Court should consider those facts “undisputed for purposes of the motion,” Fed. R. Civ.

P. 56(e), and those undisputed facts preclude a finding of deliberate indifference and serve as an

independent basis for judgment in favor of Defendants on the constitutional claims.

       Nor do Plaintiffs dispute any of the facts in Defendants’ SUF that support a finding that

Defendants have a “comprehensive, effectively working plan” to minimize the institutional

placement of foster children, which precludes liability under Title II of the Americans with

Disabilities Act (hereafter “ADA”) and Section 504 of the Rehabilitation Act (hereafter

“Rehabilitation Act”). Plaintiffs do not dispute that, before Plaintiffs filed suit, Defendants entered

a Memorandum of Understanding (“MOU”) with the Department of Justice (“DOJ”) to decrease

reliance on residential treatment and expand access to community-based services, pursuant to

which Defendants have implemented a host of new programs and services; more than doubled

community-based mental health expenditures for foster children; and substantially decreased the

number and percentage of foster children in residential treatment over the last decade. Instead,

Plaintiffs argue that the binding plan that Defendants negotiated with DOJ, the federal agency

charged with enforcing the ADA, does not comply with the ADA and that Defendants should be

subject to a second binding set of requirements governing the expansion of community-based

services and placements. Nothing in the ADA, the Rehabilitation Act, or Olmstead supports such

a position, and this Court can resolve Plaintiffs’ argument as a matter of law.



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                                          ARGUMENT

  I.   Defendants are Entitled to Summary Judgment on the Substantive Due Process
       Claims Because the Undisputed Facts Demonstrate that Defendants are Not
       “Deliberately Indifferent” or “Grossly Negligent.”

       In Doe v. South Carolina Department of Social Services, the Fourth Circuit held that a

foster child alleging a Substantive Due Process violation must prove that the defendant was

“deliberately indifferent.” 597 F.3d 163, 175 (4th Cir. 2010). Relying on Doe, this Court held for

purposes of this case that Plaintiffs “must show that” Defendants were “deliberately indifferent”

to prove a Substantive Due Process violation. ECF No. 351, at 11; accord ECF No. 487, at 9–10.

       Plaintiffs now ask this Court to reject the “deliberate indifference” standard in favor of a

“substantially depart from accepted professional standards” test, which “is essentially a gross

negligence standard.”    ECF No. 548, at 3–4 (cleaned up). While the Fourth Circuit and the

Supreme Court have applied this standard in cases involving the provision of medical care to

individuals in secure facilities, see Doe 4 ex rel. Lopez v. Shenandoah Valley Juvenile Center

Commission, 985 F. 3d 327 (4th Cir 2021) (hereafter “Lopez”); Youngberg v. Romeo, 457 U.S. 307

(1982), Lopez and Youngberg were not cases brought by foster children challenging child welfare

practices, and Lopez did not disturb the Fourth Circuit’s holding in Doe. Consequently, there is no

basis to depart from the “deliberate indifference” standard previously applied by this Court.

Further, in discovery disputes, Plaintiffs have repeatedly justified the breadth of their demands on

the grounds that they must “prove that Defendants acted with deliberate indifference,” ECF No.

402, at 9; see, e.g., ECF No. 474, at 3–7, and they are precluded from relying on a “contradictory

argument to prevail in another phase” of this litigation, New Hampshire v. Maine, 532 U.S. 742,

749 (2001) (cleaned up). In any event, the undisputed facts establish that Defendants are neither

“deliberately indifferent” nor “grossly negligent” with respect to caseloads, case planning, or the

placement array.
                                                 3
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       A.      Plaintiffs Do Not Dispute That Defendants Have Taken the Actions to Improve
               Caseworker Caseloads, Case Planning, and the Placement Array Set Forth in
               Defendants’ SUF.

       Plaintiffs do not dispute that Defendants have taken the actions set forth in Defendants’

SUF and Defendants’ Memorandum in Support of Defendants’ Motion for Summary Judgment

(“Defendants’ Memorandum”) to decrease caseloads, improve case planning, and expand the

placement array. See generally ECF No. 548, at 5–19. Instead, Plaintiffs argue that those actions

have not improved the West Virginia child welfare system. See generally id. at 5–19.

       Plaintiffs’ argument, even if true, does not create a material dispute of fact about whether

Defendants were deliberately indifferent or grossly negligent. To prove deliberate indifference or

gross negligence, a plaintiff must prove, among other things, that defendants completely “chose to

ignore” a known risk. Doe, 597 F.3d at 175; see White by White v. Chambliss, 112 F.3d 731, 737

(4th Cir. 1997). Officials do not violate Substantive Due Process “if they responded reasonably”

to that risk or were merely negligent.1 See Parrish 372 F.3d at 306–07 (cleaned up).

       The key focus in a “deliberate indifference” or “gross negligence” inquiry is the defendants’

efforts, not the ultimate results. As the Fifth Circuit held in M.D. by Stuckenberg v. Abbot, which

Plaintiffs cite repeatedly, the extent to which the state’s efforts actually yield results “is of no

moment” to a deliberate indifference analysis. M.D. by Stuckenberg v. Abbot, 907 F.3d 237, 269

(5th Cir. 2018). Trying but failing to mitigate a risk is not deliberate indifference or gross

negligence,2 and thus evidence of a lack of improvement or even back-sliding is not enough.


1
  Plaintiffs argue that Defendants are required to “take reasonable steps,” ECF No. 548, at 5, but
“reasonableness” is a negligence standard, and the Fourth Circuit has repeatedly held plaintiffs
must prove much more than negligence or “unreasonable” action to prevail on a Substantive Due
Process claim. See, e.g., Parrish ex rel. Lee v. Cleveland, 372 F.3d 294, 306–07 (4th Cir. 2005).
2
  See, e.g., M.D., 907 F.3d at 269; Doe, 597 F.3d at 175 (holding that a plaintiffs must prove that
the defendant “chose to ignore” a risk); Patten v. Nichols, 274 F.3d 829, 843–45 (4th Cir. 2001)

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       In this case, the undisputed facts (uncontested in Plaintiffs’ Opposition) show that

Defendants have gone to great lengths to improve caseloads, case planning, and the placement

array. ECF No. 535, at 4–11; ECF No. 534, ¶¶ 63–185. Plaintiffs minimize these actions as

occurring “after this litigation commenced” in September 2019. ECF No. 548, at 1. However,

Plaintiffs’ own discovery has been limited to the last five years, see, e.g., ECF No. 433-2, at 5

(“Time Period”), Defendants made changes pursuant to the DOJ MOU signed in May 2019

(months before Plaintiffs brought suit); and only the Defendants’ current operations are relevant

because Plaintiffs are seeking prospective relief. See Farmer v. Brennan, 511 U.S. 825, 844 (1994)

(plaintiffs must prove deliberate indifference “at the time of summary judgment”).

       Further, although not necessary to preclude a finding of deliberate indifference or gross

negligence, the undisputed facts are that the system is improving. For example: Defendants

decreased the ratio of Child Protective Services (“CPS”) and Youth Services (“YS”) workers to

children in foster care from approximately one worker for every 12 children (May 2022) to

approximately one worker for every nine (9) children (May 2024);3 West Virginia increased the

number and percentage of foster children placed in the community, from 3,086 (70 percent of all

foster children) in April 2014 to 4,960 (81 percent of all foster children) in April 2024; West

Virginia decreased the percentage of foster children placed in residential treatment, from 28




(holding that defendants did not violate Substantive Due Process when they spoke to the patient
upon learning of a medical risk and “were satisfied that [the individual] was not in danger,” even
though the individual later died and “defendants could have done more than just talk to [the
individual] from across a hallway”); Parrish, 372 F.3d at 308–09 (holding that police officers’
actions were not deliberately indifferent when they “took precautions that they believed . . . were
sufficient to prevent the harm that befell” the detainee, even though that belief proved to be
“erroneous[]” and the detainee later died).
3
  Plaintiffs criticize Defendants for counting YS workers in these calculations, but YS workers
serve juvenile justice-involved youth in foster care, and Plaintiffs prevailed in keeping these youth
in the General Class (over Defendants’ objections), see ECF No. 351, at n.11.
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percent in May 2014 to 17 percent in May 2024; 92 percent of foster children in custody because

of abuse or neglect (i.e., excluding juvenile justice youth) are placed in family homes; 53 percent

of foster children (including juvenile justice youth) are placed in kinship homes, the highest rate

in the country;4 Defendants increased spending on community-based behavioral health services

and other home- and community-based services for foster children from $2.9 million (for services

to 2,983 children) in 2015 to at least $8.1 million (for services to at least 4,463 foster children) in

2023. ECF No. 534, ¶¶ 135–136, 157, 185–93.

        Despite all these actions and improvements, Plaintiffs suggest that they can meet their

burden of proving deliberate indifference because caseloads are still too high.5 See ECF No. 548,

at 7–9. Defendants do not dispute that caseloads are still too high in some districts and continue

to work to decrease those caseloads, but a shortage of caseworkers does not establish deliberate

indifference or gross negligence. Hiring additional caseworkers is not like flipping on a switch.

For many years, states nationwide have struggled with a shortage of qualified individuals willing

to serve as caseworkers, which was exacerbated by COVID and a tight labor market.6 Recruiting


4
  Plaintiffs assert that this placement data is “disputed,” ECF No. 548, at 16, but they fail to “cit[e]
to particular parts of materials in the record” to support that assertion, as required by Rule 56(c).
5
  Plaintiffs’ Opposition significantly overstates the caseloads that caseworkers carry, see Defs.
Resp. to Pls. SUF, ¶ 18, but that is a factual dispute that need not be resolved because it is not
material to whether Defendants are deliberately indifferent. Among other problems with Plaintiffs’
calculations, Plaintiffs incorrectly count cases assigned to supervisors for supervising purposes as
if those cases were assigned to a caseworker, which artificially inflates the caseworkers’ caseload
numbers because supervisors supervise more cases than caseworkers carry (supervisors supervises
multiple caseworkers, each with their own caseload). See Ex. 1, ¶¶ 7–14. “Ex.” refers to an exhibit
attached to the August 5, 2024, declaration of Philip J. Peisch accompanying Defendants’ reply in
support of their motion for summary judgment.
6
 Casey Family Programs, How are child protection agencies navigating and addressing workforce
challenges? (Aug. 2023), https://www.casey.org/media/23.07-QFF-HO-Workforce-Challenges-
1.pdf (attached as Ex. 10); Child Welfare League of Am., 2022 Legis. Agenda, Hot Topic,
Strengthen     the   Child    Welfare     Workforce      (2022),    https://www.cwla.org/wp-
content/uploads/2022/04/2022HotTopicWorkforce.pdf (attached as Ex. 11).

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caseworkers is particularly challenging in West Virginia, a rural state tied for the lowest percentage

of college graduates of any state in the country. Defendants have gone to great lengths to overcome

these challenges and hire and retain additional caseworkers, as detailed in Defendants’

Memorandum and in Defendants’ SUF, see ECF No. 534, ¶¶ 100–38; ECF No. 535, at 4–9.

       As a result of these efforts, it is undisputed that, over the last two years, the number of CPS

and YS staff employed by the Department of Human Services (“DoHS”) increased from 569 to

672 (while the number of children in custody decreased by approximately 10 percent), and that

CPS and YS vacancy rates decreased from 27 and 35 percent, respectively, to 17 percent and 14

percent. ECF No. 534, ¶¶ 130–36, 186. Further, the CPS and YS turnover rate decreased from

34.1 to 22.3 percent, from 2021 to 2023, id. ¶ 134,7 compared to nationwide child welfare turnover

rates of “between 23% and 60% annually,” see Ex. 11.

       Plaintiffs also suggest that Defendants are deliberately indifferent because “Defendants do

not know or routinely track actual caseloads.” ECF No. 548, at 6. This allegation is not true and

belied by the documents Plaintiffs cite in support of it. Plaintiffs’ own SUF references some of the

ways in which Defendants track caseloads, see ECF No. 549, ¶ 2, and it is undisputed that DoHS

monitors caseworker caseloads calculated based on the definition of “case” that DoHS uses, ECF

No. 539, at 2; Defs. Resp. to Pls. SUF, ¶¶ 2, 6–7; ECF No. 549, ¶ 2; see, e.g., ECF No. 533-73;

ECF No. 550-12, Tr. 77:3–24, 81:2–6; ECF No. 554-19, at D003113230. Further, it is undisputed

that “DoHS staff are able to use PATH to review which cases a caseworker is assigned at any



7
  Plaintiffs argue that the evidence regarding turnover rates is inadmissible hearsay. ECF No. 548,
at 8. In an abundance of caution, Defendants have attached a sworn declaration from Amanda
Queen providing information regarding the source and creation of the contested document
(attached as Ex. 2). Accordingly, Defendants have met their burden to show that the material is
capable of admission at trial. See Fed. R. Civ. P. 56(c); Rule 56 Advisory Committee Note, 2010
Amendment; Deakins v. Pack, 957 F.Supp.2d 703, 752 (S.D. W. Va. 2013).

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specific point in time, and then look at each of those cases to see how many children are involved

in each case,” ECF No. 549, ¶ 2, and DoHS supervisors monitor the number of individual children

that each caseworker serves and consider the number of children in each case in distributing cases

amongst caseworkers, ECF No. 550-13, Tr. 54:9–60:6; see also, ECF No. 550-12, Tr. 76:21–77:2.

       Plaintiffs argue that evidence of a decreasing number of certified foster homes also supports

a deliberate indifference finding. Once again, Plaintiffs’ allegations do not accurately reflect the

information in the documents they cite. For example, Plaintiffs state “[t]o have enough certified

foster homes for teens, two to four teens would need to be placed in each home,” ECF No. 548, at

18, but the document Plaintiffs cite actually states that, statewide, there is “at least one home for

every teen placed at the state-level,” ECF No. 552-8, at D003113715. Most importantly, Plaintiffs

ignore the undisputed fact that DoHS has recruited nearly 2,000 more family beds with actual

children placed in them than it had a decade ago: in May 2014, 3,086 foster children were placed

in family homes, compared to 4,960 foster children placed in family homes in May 2024. ECF

No. 534, ¶¶ 187–88. In any event, whether there has been a decline in one type of placement—

licensed foster families—is not relevant to whether Defendants have been deliberately indifferent

to improving the placement array, see note 2, supra, particularly in light of the substantial increase

in placements in kinship homes in the community, compare ECF No. 533-75 to ECF No. 533-77.

       Plaintiffs suggest that Defendants are deliberately indifferent because courts temporarily

place some foster children in hotels, hospitals, cottages at a summer camp used for 4-H and other

youth programming, and three allegedly unsafe residential programs (George Junior, Highland

Hospital, and those owned by ResCare).          While Defendants work to minimize temporary

placements such as hotels, they are sometimes necessary in an emergency, such as when a child is

removed in the middle of the night, or a youth has problematic behaviors that require some time



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to find a suitable placement. More to the point, Plaintiffs do not cite any evidence about the

number of children placed in these temporary placements, presumably because they know this is

not a class-wide issue. In fact, only a few dozen foster children are temporarily placed in a hotel

or hospital each month, and only a handful of children are placed in the summer camp cottages,

out of approximately 6,000 General Class members in custody. See Defs. Resp. to Pls. SUF, ¶ 124.

Similarly, while Defendants dispute Plaintiffs’ allegations about George Junior, Highland

Hospital, and the programs owned by ResCare, see Defs. Resp. to Pls. SUF, ¶¶ 141, 146, 150,

those allegations are also immaterial to the class-wide claims because only a few dozen foster

children are placed in any of those facilities at any given time. See ECF No. 555-25, at 6–7; ECF

No. 550, ¶ 4.

        Finally, Plaintiffs argue that the facts in this case are analogous to those in M.D. by

Stuckenberg v. Abbot, but that case is easily distinguishable. In M.D., the court held that the district

court did not “clearly err” in concluding that Texas was deliberately indifferent to caseload

management and “monitoring and oversight,” because Texas: permitted caseworkers to forego

face-to-face visits, which were “often” not completed; had not tried to determine how many cases

a caseworker could manage; lacked any internal agency caseload standards; only requested “the

bare minimum” funding from the legislature “to maintain current caseloads and preserve the status

quo”; did not appropriately investigate abuse and neglect of foster children; and had “not done any

significant work to improve on these deficiencies.” M.D., 907 F.3d at 246, 261–62 & n.32, 264–

68; see also id. at 261–65. In contrast, in this case, there is no dispute that West Virginia has taken

many steps to decrease caseworker caseloads, including many that Texas did not take, as detailed

in Defendants’ Memorandum, ECF No. 535, at 4–9, and in Defendants’ SUF, see ECF No. 534, ¶¶

100–38. As a result, unlike in M.D., there is no dispute that West Virginia’s caseworkers complete



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the overwhelming majority of their face-to-face visits with foster children, id. ¶ 137,8 and Plaintiffs

in this case do not point to any evidence that Defendants are not properly investigating allegations

of abuse and neglect of foster children, see generally ECF No. 548.

       Plaintiffs also neglect to mention that M.D. held that the district court “clearly erred” in

finding that Texas’ placement array practice violated Substantive Due Process. In so holding, the

court explained that “inadequate placement array does not unacceptably increase the risk that a

child will be exposed to serious physical or psychological harm,” and “the availability of foster

homes . . . is something uniquely out of the State’s control,” because a state “cannot force people

to volunteer” as foster parents or otherwise “resolve the ongoing placement challenges related to

ensuring a child’s unique fit with a prospective placement.” M.D., 907 F.3d at 268 (cleaned up).

       B.      Plaintiffs Do Not Identify Any Additional Action That Defendants Should Take
               That Would Improve Caseloads, Case Planning, or the Placement Array.

       Notably, Plaintiffs’ Opposition identifies only two steps that they believe Defendants

should take, but are not already taking, related to caseworker caseloads and case planning:

(1) counting “cases” by child instead of by family; and (2) imposing the caseload maximum for

caseworkers recommended by DoHS’s 2022 Workload Study. ECF No. 548, at 5–19. (Plaintiffs

do not identify any additional steps that Defendants should take to improve the placement array.)



8
  Plaintiffs do not dispute the facts set forth in paragraph 137 of Defendants’ SUF showing that
caseworkers complete the vast majority of face-to-face visits. However, Plaintiffs assert that
DoHS’s 2024 Annual Progress and Services Review (“APSR”) “shows that caseworker visits with
children decreased from 41.5% in 2018 to 25.6% in 2022.” ECF No. 548, at 11. That is flat wrong.
The APSR actually states that “in FFY 2022, 91.31% of the children in foster care in West Virginia
were visited during each month.” ECF No. 551-23, at D002230073–74. The percentages Plaintiffs
cite, “41.5% in 2018” and “25.6% in 2022,” are from the DPQI process and reflect the percentage
of a small sample of cases (including “in home” cases of children not in foster care) for which the
“frequency and quality” of all caseworker contacts were rated a “strength.” See id. at D002229756,
D002229811, D002229758–59; ECF No. 533-15, ¶ 27. A case will only be rated a “strength” if a
number of different quality metrics are met for all visits in the case during the period under review.

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       To begin with, the fact that a defendant did not take all conceivable action cannot support

a deliberate indifference or gross negligence finding. As the Fourth Circuit has explained, “the

feasibility of additional precautionary measures is rarely probative in a deliberate indifference

inquiry” because “the question in deliberate indifference cases is not whether the officials could

have taken additional precautions—almost invariably, with the benefit of 20/20 hindsight, there

are additional precautions that could have been taken—but whether they disregarded an excessive

risk to . . . health or safety.” Parrish, 372 F.3d at 309 (cleaned up).

       Further, counting cases by child and imposing a caseworker caseload cap would not

improve the system. With respect to the former, while Plaintiffs claim that counting “cases” by

child instead of by family is a better metric for measuring caseloads, it would do nothing to

decrease caseloads or the ratio of foster children to caseworkers. DoHS would have the same

number of caseworkers and the same number of children to serve, regardless of whether cases are

counted by child or family. Similarly, DoHS has reasonably concluded that a caseworker cap

would not actually decrease caseloads.        DoHS must operate a system with the number of

caseworkers it is able to recruit, and DoHS is legally and morally obligated to serve all children

who have been abused or neglected. Accordingly, if DoHS imposed a caseload cap, it would need

to violate that cap if either it is unable to hire a sufficient number of caseworkers or there is an

unexpected increase in the number of reports of abuse and neglect. As DoHS leadership explained

in depositions, DoHS cannot and would not refuse to serve new children if the caseload caps were

reached, see, e.g., ECF No. 550-13, Tr. 106:2–13, thereby rendering any cap effectively advisory

and indistinguishable from the caseload goals that DoHS has already set (10 cases per CPS

caseworker and 12 cases per YS caseworker), id. Tr. 106:2–13; ECF No. 550-3, at 3.




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 II.   Defendants are Entitled to Summary Judgment on the Substantive Due Process
       Claims Because Plaintiffs Do Not Cite Any “Significant Probative Evidence” of Class-
       Wide Constitutional Injury Caused By Defendants’ Policies or Practices.

       As this court has made clear, ECF No. 351, at 20, in addition to proving deliberate

indifference, plaintiffs must prove that defendants’ conduct caused a class-wide deprivation of, or

an “imminent[]” risk of a class-wide deprivation of, a constitutional right protected by Substantive

Due Process.    See Lewis v. Casey, 518 U.S. 343, 349–50 (1996); M.D., 907 F.3d at 253.

“Establishing a direct causal link between the State policy and the constitutional deprivation” on

a class-wide basis “is a high threshold of proof”; “[t]his connection must be more than a mere but

for coupling between cause and effect,” and it must be determined whether “each and any policy

or practice” caused the constitutional violation. M.D., 907 F.3d at 253 (cleaned up).

       As explained in this Court’s ruling on Defendants’ motion to dismiss, “Defendants need

only provide for Plaintiffs’ basic human needs and prevent further abuse and neglect”; the

Constitution does not guarantee “optimal treatment.” ECF No. 300, at 16; DeShaney v. Winnebago

Cnty. Dep’t of Soc. Servs., 489 U.S. 189, 200 (1989) (identifying constitutionally protected “basic

human needs” as “food, clothing, shelter, medical care, and reasonable safety”). Plaintiffs’

Opposition does not even allege (much less cite evidence) that any of the purported policies or

practices they challenge caused a class-wide deprivation of any “basic human need;” “abuse or

neglect,” ECF No. 300, at 16; or “psychological harm,” such as “egregious intrusions on a child’s

emotional well-being,” M.D., 907 F.3d at 251.

       Plaintiffs’ brief mentions only two potentially constitutionally protected harms:

(1) maltreatment and (2) lack of services. With respect to the former, Plaintiffs do not point to any

evidence that General Class members have suffered, or are at risk of suffering, maltreatment on a

class-wide basis, let alone that such risk is caused by policies and practices relating to caseloads,

case planning, or the placement array. Nor could Plaintiffs plausibly make such an argument: it is
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undisputed that the data shows that less than one percent of foster children in West Virginia are

maltreated in custody, and West Virginia has the third lowest rate of maltreatment in care of any

child welfare system in the country, with less than three (3) incidents per 100,000 days in care, less

than half the national performance of 9.07 incidents per 100,000 days. ECF No. 534, ¶¶ 203, 204.

Plaintiffs’ SUF alleges some instances of abuse suffered by children who are not in state custody

that could have been prevented by lower caseloads, see, e.g., Defs. Resp. to Pls. SUF, ¶34i, but

children who are not in DoHS custody are not part of the General Class in this case, ECF No. 351,

at 45. Further, while Defendants devote enormous resources to preventing abuse and neglect of

children who are not in state custody, Substantive Due Process does not give rise to any affirmative

duty to protect children who are not in state custody, White by White, 112 F.3d at 737 (“In

DeShaney v. Winnebago County Dep’t of Social Servs., 489 U.S. 189 (1989), the Supreme Court

held that the state had no affirmative duty to protect a child from abuse when that child was not in

state custody.”); Doe, 597 F.3d at 171 (“This Court has consistently read DeShaney to require a

custodial context before any affirmative duty can arise . . . .”).

       Plaintiffs argue that the maltreatment data understates actual maltreatment because they

“do not include maltreatment in uncertified kinship homes,” and “maltreatment in foster care [is]

not adequately investigated, if at all.” ECF No. 548, at 15. However, the maltreatment data does

include maltreatment in uncertified homes, Ex. 1, ¶ 5, and Plaintiffs do not cite to “particular parts

of materials in the record” to the contrary, see Fed. R. Civ. P. 56(c). Similarly, Plaintiffs do not

cite any actual evidence to support their assertion that “allegations of maltreatment in foster care

are not adequately investigated, if at all,” see ECF No. 548, at 15.

       While Plaintiffs do not need to show that all General Class members actually suffered

maltreatment, the Supreme Court has made clear that plaintiffs in a class action raising a



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constitutional claim must prove that all class members at least face “imminent[]” risk of a

constitutional injury. See Lewis, 518 U.S. at 349–50. Even courts deploying a more relaxed

standard of risk have held plaintiffs must prove “substantial risk” of constitutional harm and, “to

the extent [plaintiffs] allege a [policy or practice] has existed for a length of time, [plaintiffs]

generally must show that some [similarly situated individuals] . . . have been harmed, in order to

demonstrate an objectively substantial risk of serious harm.” Dunn v. Dunn, 219 F. Supp. 3d 1100,

1123–24 (M.D. Ala. 2016). Evidence that less than one percent of General Class member

experienced maltreatment does not come close to establishing “an objectively substantial risk.”

       Nor do Plaintiffs cite any evidence that General Class members are not receiving “services

necessary to prevent unreasonable risk of harm,” ECF No. 300, at 14–15.9 The only evidence

Plaintiffs cite on this point is their assertion that the APSR reports that Defendants “met physical

needs of children 60.53% of the time in 2022” and “adequately addressed” “the mental and

behavioral health needs of foster children” “only 25% of the time in 2022” and “20% in 2023.”

ECF No. 548, at 13. Yet again, Plaintiffs mischaracterize documentary evidence. The APSR

percentages Plaintiffs cite are from Defendants’ DPQI case reviews, which review a tiny sample

of cases (10–15 a month), half of which are children not in custody who are still living with their

families. ECF No. 533-15, ¶ 27. DPQI does not assess the extent to which the children in the

sampled cases received “services necessary to prevent unreasonable risk of harm,” or even the

extent to which Defendants have “adequately addressed” the physical or behavioral needs of those

children, as Plaintiffs assert. Rather, the percentages cited by Plaintiffs (60.53 percent, 25 percent,

and 20 percent) reflect the percentage of the small sample of DPQI-reviewed cases where DPQI



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 The constitution does not entitle Plaintiffs to all services, only “services necessary to prevent
unreasonable risk of harm,” ECF No. 300, at 14–15.

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rated the physical, mental or behavioral services as a “strength” for children in the case. See ECF

No. 551-23, at D002229770–76; ECF No. 533-15, ¶ 27. DPQI will only rate the case as a

“strength” if, among other things: the agency accurately assessed the child’s physical, dental,

mental and behavioral health needs; the child’s health records are up to date and included in the

case file; the case worker regularly follows up with caregivers about administering medications

appropriately and the target child’s experience with the medications; and services were provided

to address all identified physical, dental, mental and behavioral health needs.            Ex. 3, at

D002761608–11.

        While the DPQI criteria measures of social work practice are criteria that Defendants strive

to meet, failing to achieve a “strength” rating does not mean the child was deprived of “services

necessary to prevent unreasonable risk of harm.” ECF No. 300, at 14–15. As this Court has already

found, “substantive due process does not demand optimal treatment,” id. at 16, and Plaintiffs

cannot “take aspirational statutory, regulatory, and private standards . . . and convert each of them

to constitutional requirements,” Connor B. ex rel. Vigurs v. Patrick, 774 F.3d 45, 55 (1st Cir. 2014).

        In any event, Plaintiffs do not point to any evidence that any maltreatment or non-receipt

of any services necessary to prevent unreasonable risk of harm was caused by any of the policies

or practices that they challenge relating to caseloads, case planning, or inadequate placement array.

Plaintiffs’ Opposition does not even mention the words “cause”, “caused”, or “causation,” except

once in a single quotation from another case. See generally ECF No. 548.

 III.   Defendants are Entitled to Summary Judgment on the ADA and Rehabilitation Act
        Claims.

        As explained in Defendants’ Memorandum, summary judgement is appropriate on the

ADA’s Subclass’s claims for two reasons: the undisputed facts establish that (1) Defendants have




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a comprehensive, effectively working plan to minimize residential placement; (2) the ADA

Subclass-wide is not subject to “unjustified institutionalization” or “a serious risk” thereof.

       A.      The Undisputed Facts Establish That Defendants Have a Comprehensive,
               Effectively Working Plan.

       To prevail on an ADA or Rehabilitation Act claim, the plaintiffs must prove that the relief

they seek is a “reasonable modification” of the defendants’ programs, which Plaintiffs cannot

establish if the State already has “a comprehensive, effectively working plan for placing qualified

persons with mental disabilities in less restrictive settings, and a waiting list that moved at a

reasonable pace not controlled by the State’s endeavors to keep its institutions fully populated.”

See Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 584, 605–06 (1999) (citations omitted); accord,

e.g., Arc of Wash. State Inc. v. Braddock, 427 F.3d 615, 619 (9th Cir. 2005).

       The undisputed facts establish that West Virginia’s MOU with DOJ and related efforts

constitute a “comprehensive, effectively working plan for placing” foster children in less

restrictive settings. See ECF No. 535, at 21–28 (citing relevant paragraphs of ECF No. 534). It is

undisputed that Defendant have, among other things: launched the Medicaid Children with Serious

Emotional Disorder Waiver (“CSEDW”) program to provide children (including foster children)

community-based mental health services; launched the “Mountain Health Promise” program to

improve access to and coordination of a continuum of health care and socially necessary services

for all foster children; implemented Children’s Mobile Crisis Response and Stabilization program

to immediately connect children experiencing a crisis in the community with necessary crisis

services, 24 hours a day, seven days a week; and implemented the Pathway to Children’s Mental

Health Services to streamline the process through which children are assessed for and connected

to community-based behavioral health services. See ECF No. 534, ¶¶ 59, 60, 165–172.




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       Plaintiffs’ Opposition identifies three reasons why Defendants’ work with the DOJ does

not constitute a “comprehensive, effectively working plan,” none of which are persuasive. First,

Plaintiffs argue that Defendants’ work with DOJ fails to “contain[ ] specific and measurable goals

for the integration of persons with disabilities into the community,” and that the only evidence

Defendants cite for the effectiveness of the DOJ MOU is the testimony of Defendants’ expert,

Heidi Arthur. ECF No. 548, at 23. These critiques are indisputably factually false. Plaintiffs’ own

brief acknowledges that the DOJ MOU sets a goal for Defendants to “reduce the number of

children in Residential Mental Health Treatment Facilities (‘RMHTFs’) to 712 by December 31,

2024.” ECF No. 548, at 16. Further, even a cursory review of the DOJ MOU, the Implementation

Plans, and the Semi-Annual reports reveals that DOJ and the Subject Matter Expert apply concrete,

measurable goals for Defendants to increase community placements and services. See, e.g., ECF

No. 533-66, at D003097198–99, D003097271; ECF No. 533-70, at D002232682, D002232710,

D002232758. In any event, Olmstead did not require that the comprehensive plan contain specific

or measurable goals, 527 U.S. at 584, 605–06. Rather, as the Ninth Circuit has held, “[s]o long as

states are genuinely and effectively in the process of deinstitutionalizing disabled persons ‘with an

even hand,’” courts should “not interfere.” Braddock, 427 F.3d at 620.

        Nor is it true that the only evidence Defendants cite to support the effectiveness of their

plan is Ms. Arthur’s opinion (which is actually cited only once in Defendants’ Memorandum). For

example, Defendants’ Memorandum cites the following facts, none of which Plaintiffs dispute:

State spending on community-based mental health services and other HCBS for foster children

more than doubled from 2015 to 2023; the number of foster children placed in the community

increased from 3,086 children (70 percent of children in custody) in May 2014 to 4,960 children

(81 percent of children in custody) in May 2024; the percentage of foster children placed in



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residential treatment decreased from 28 percent in May 2014 to 17 percent in May 2024 (inclusive

of juvenile justice youth); the number of foster children with a behavioral health diagnosis

receiving residential treatment services decreased from 1,600 in 2018 to 961 in 2023; and 92

percent of foster children in custody because of abuse or neglect are placed in family homes. ECF

No. 535, at 22–26 (citing, among other things, ECF No. 534, ¶¶ 185–88, 193).

       Second, Plaintiffs argue that “Defendants’ data is unreliable.” ECF No. 548, at 23. The

entirety of the evidence on this point are comments by the Subject Matter Expert that “surveys[ ]

and interviews with a sample of at-risk children, their caregivers, and providers may not accurately

reflect the views of these stakeholders,” due to the framing of the questions and low response rates.

ECF No. 533-66, at D003097184. That is a very small portion of the data collected, reported, and

analyzed by DoHS or the Subject Matter Expert, and it does not relate to any of the data cited

above about the State’s expenditures on community-based services or the number or percentage of

children placed in residential treatment. Nor do Plaintiffs cite any case law suggesting that

“unreliable” survey data precludes a finding that a State has a comprehensive, effectively working

plan, when the State is not relying on that data to show the plan exists.

       Third, Plaintiffs argue that the number of foster children in residential treatment has

increased from 2021 to present. ECF No. 548, at 23–24. Defendants do not dispute that

placements in residential treatment have modestly increased from 2021 to present, although there

are still substantially fewer children in residential care today than there were in 2014, which (given

growth in the number of foster children) reflects as a substantially smaller percentage. Moreover,

it is undisputed that, in the wake of COVID, the number of children experiencing serious mental

health needs has increased substantially nationwide. ECF No. 534, ¶ 186; ECF No. 533-22.

Against that backdrop, and the substantial increase in community-based services expenditures by



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Defendants, a modest uptick in residential placements does not mean that Defendants do not have

a “comprehensive, effectively work plan.” And the fact remains that, today, 92 percent of foster

children in custody because of abuse or neglect are placed in family homes, and the raw number

and percentage of all foster children (including juvenile justice youth) placed in the community

has substantially increased over the last decade, from 3,086 foster children (70 percent of children

in custody) in May 2014 to 4,960 children (81 percent of children in custody) in May 2024. ECF

No. 534, ¶¶ 185–88, 193.

       B.      Plaintiffs Do Not Cite Evidence to Support Their Allegations that the ADA
               Subclass is Subject to Unjustified Institutionalization or Serious Risk Thereof.

       Presumably because the vast majority of foster children are placed in the community,

Plaintiffs’ Opposition abandons the argument that ADA Subclass members face actual unjustified

institutionalization on a subclass-wide basis. ECF No. 548, at 20–22. Instead, Plaintiffs’ theory

is that ADA Subclass members are at “serious risk of” unjustified institutionalization. Id.

       That is no longer viable after Loper Bright Enterprises v. Raimondo, 144 S.Ct. 2244 (2024).

See ECF No. 535, at 15 n.4. With the Supreme Court lifting the fog of deference to DOJ’s legal

interpretation that has long dissuaded courts from independently interpreting the ADA and the

Rehabilitation Act, it becomes crystal clear that those statutes do not prohibit “serious risk of”

institutionalization. See 42 U.S.C. § 12132; 29 U.S.C. § 794. Nothing in their text evinces a

congressional intent to prohibit “risk of” anything. See United States v. Mississippi, 82 F.4th 387,

392 (5th Cir. 2023). Although recently enacted regulations implementing the Rehabilitation Act

prohibit risk of unjustified institutionalization, see 45 C.F.R. § 84.76 (effective July 8, 2024),

Plaintiffs do not rely on those regulations, see ECF No. 548, at 19-26, and those regulations are

inconsistent with the text of the statute, in part because the Rehabilitation Act “contains no express

recognition that isolation or segregation of persons with disabilities is a form of discrimination,”


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Olmstead 527 U.S. at 600 n.11, let alone that it prohibits “serious risk of” unjustified

institutionalization. Accordingly, the Rehabilitation Act regulations are invalid and cannot serve

as the basis of a private cause of action. See, e.g., Nat’l Rifle Ass’n v. Brady, 914 F.2d 475, 483–

85 (4th Cir. 1990); Fort Wayne Cmnty. Schs. v. Fort Wayne Educ. Ass’n, Inc., 977 F.2d 358, 366

(7th Cir. 1992); United States. v. Calamaro, 354 U.S. 351, 359 (1957).

       In any event, Plaintiffs do not point to any evidence showing that ADA Subclass members

face a “serious risk of” unjustified institutionalization on a subclass-wide basis. Plaintiffs rely on

the DOJ MOU Subject Matter Expert’s and DoHS’s reports that some youth remain in residential

treatment when they are ready for discharge because there are not available foster homes “for older

youth and youth with serious emotional disturbance.” ECF No. 548, at 21. However, Plaintiffs

do not cite any evidence that this impacts a majority of the ADA Subclass, and the fact that there

are not enough families willing to accept “older youth and youth with serious emotional

disturbance” does not mean that Defendants are violating the ADA or the Rehabilitation Act on an

ADA Subclass-wide basis. Plaintiffs assert that “DoHS has the nondelegable duty to ensure that

there are . . . adequate placements that will prevent the unnecessary placement of children in

restrictive residential treatment facilities.” But Plaintiffs do not cite any statute or case law to

support this proposition, and there is none. As the court in M.D. explained, “the availability of

foster homes . . . is something uniquely out of the State’s control,” because a state “cannot force

people to volunteer” as foster parents or otherwise “resolve the ongoing placement challenges

related to ensuring a child’s unique fit with a prospective placement.” 907 F.3d at 268 (cleaned

up).

                                          CONCLUSION

       For the foregoing reasons, Defendants’ Motion for Summary Judgment should be granted.



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      August 5, 2024                         Respectfully submitted,

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                               CERTIFICATE OF SERVICE
       I, Philip J. Peisch, hereby certify that I caused a true and correct copy of the foregoing

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